Case:
 Case:2:15-cv-02467-EAS-KAJ
       2:15-cv-02467-EAS-KAJDoc
                             Doc#:#:90-1 Filed:03/26/19
                                     86 Filed:  05/28/19Page:
                                                         Page:11ofof77 PAGEID
                                                                        PAGEID#:#:1175
                                                                                   1202
Case:
 Case:2:15-cv-02467-EAS-KAJ
       2:15-cv-02467-EAS-KAJDoc
                             Doc#:#:90-1 Filed:03/26/19
                                     86 Filed:  05/28/19Page:
                                                         Page:22ofof77 PAGEID
                                                                        PAGEID#:#:1176
                                                                                   1203
Case:
 Case:2:15-cv-02467-EAS-KAJ
       2:15-cv-02467-EAS-KAJDoc
                             Doc#:#:90-1 Filed:03/26/19
                                     86 Filed:  05/28/19Page:
                                                         Page:33ofof77 PAGEID
                                                                        PAGEID#:#:1177
                                                                                   1204
Case:
 Case:2:15-cv-02467-EAS-KAJ
       2:15-cv-02467-EAS-KAJDoc
                             Doc#:#:90-1 Filed:03/26/19
                                     86 Filed:  05/28/19Page:
                                                         Page:44ofof77 PAGEID
                                                                        PAGEID#:#:1178
                                                                                   1205
Case:
 Case:2:15-cv-02467-EAS-KAJ
       2:15-cv-02467-EAS-KAJDoc
                             Doc#:#:90-1 Filed:03/26/19
                                     86 Filed:  05/28/19Page:
                                                         Page:55ofof77 PAGEID
                                                                        PAGEID#:#:1179
                                                                                   1206
Case:
 Case:2:15-cv-02467-EAS-KAJ
       2:15-cv-02467-EAS-KAJDoc
                             Doc#:#:90-1 Filed:03/26/19
                                     86 Filed:  05/28/19Page:
                                                         Page:66ofof77 PAGEID
                                                                        PAGEID#:#:1180
                                                                                   1207
Case:
 Case:2:15-cv-02467-EAS-KAJ
       2:15-cv-02467-EAS-KAJDoc
                             Doc#:#:90-1 Filed:03/26/19
                                     86 Filed:  05/28/19Page:
                                                         Page:77ofof77 PAGEID
                                                                        PAGEID#:#:1181
                                                                                   1208
